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AO 91 (Rev. 11/11) Criminal Complaint

 

UNITED STATES DISTRICT COURT

for the
Middle District of Florida

 

 

 

United States of America }
v. )
8:20-mj-2110 AEP
DOUGLAS E. BENNETT , Case No. :
)
)
)
Defendant(s}
CRIMINAL COMPLAINT
I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of July 12, 2016-July 25, 2016 in the county of Pinellas in the
Middle District of Florida , the defendant(s) violated:
Code Section Offense Description
18 U.S.C. §§ 1542 and 1028A False Statement in Application and Use of Passport and Aggravated Identity
Theft

This criminal complaint is based on these facts:

See attached affidavit.

@ Continued on the attached sheet.

DAH

Complainant's signature

 

David M. Heddieston, SSA DSS

Printed name and title

 

Sworn before me over the telephone and signed pursuant to Fed. R. Crim. P.

Date: i L / O Ly

, / Judge 's signature

 

City and state: Tampa, Florida ANTHONY E. PORCELLI, U.S. Magistrate Judge _

Printed name and title

 
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AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT

I, David M. Heddleston, being duly sworn, depose and state the
following:

1. I am a Supervisory Special Agent (“SSA”) of the USS.
Department of State, Bureau of Diplomatic Security, Diplomatic Security
Service (“DSS”) and with the authority to obtain and execute arrest warrants
as per 22 U.S. Code § 2709(a)(2). I have been employed as a federal law
enforcement special agent since September 2004, which includes a period
between June 2008 and April 2010 where I served as a special agent with the
U.S. Department of Health and Human Services Office of Inspector General. I
have been assigned to the DSS Orlando Office since August 2020. Currently
my duties and responsibilities include, but are not limited to, conducting
investigations into criminal violations of the laws of the United States related
to U.S. passports, visas, and other travel documents used to transit
international borders. I am a graduate of the Criminal Investigator Training
Program at the Federal Law Enforcement Training Center at Glynco,
Georgia. I have also received training at the Diplomatic Security Training
Center regarding criminal investigations of the laws related to travel
documents, and violations of federal law, including violations of Title 18 of

the United States Code. Based on my training and experience, I am familiar
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with federal criminal laws related to immigration offenses, identification
fraud, and identity theft. As an SSA, I have participated in numerous
investigations and have participated in the execution of arrest and search
warrants. |

2. As a Special Agent, I am authorized to investigate violations of
the laws of the United States and to execute arrest and search warrants issued
under the authority of the United States, as per 22 U.S. Code § 2709(a)(2). I |
have also received training at the Diplomatic Security Training Center
regarding criminal investigations of the laws related to travel documents, and
violations of federal law, including violations of Title 18 of the United States
Code.

3. I submit this affidavit in support of an application for a criminal
complaint and arrest warrant for Douglas E. BENNETT (“BENNETT”).
This affidavit does not set forth every fact resulting from the investigation;
rather, it sets forth facts sufficient to establish probable cause to believe that
BENNETT committed violations of and 18 U.S.C. §§ 1542 (False Statement
in Application and Use of Passport) and 1028A (Aggravated Identity Theft) in
relation to an application for a passport submitted in 2016, resulting in the
issuance of a U.S. passport in the name of G.E. on July 25, 2016. Iam

requesting that the Court issue an arrest warrant for BENNETT based upon
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the following information that I have learned in my official capacity, by
firsthand observations, as well as by receiving information from federal and

local law enforcement in reference to this investigation.

PROBABLE CAUSE

4. On July 12, 2016, an individual using the identity of “G.E.,”
social security number 021-XX-XX71, and date of birth October XX, 1940
signed and submitted a DS-82 passport renewal-by-mail application. The
application listed a mailing and permanent address in Clearwater, Florida, the
same address where the passport would have been mailed. The applicant
included a previous U.S. Passport Book that had been issued on August 8,
2006. In the DS-82, the applicant left blank the section that stated, “list all
other names [the applicant] have used.” The applicant provided an emergency
contact name of “L.A.,” which the applicant identified as a “sister.” The DS-
82 bore a signature in the designated area and the date “12 July 2016.” The
warning above the signature line stated (paraphrasing) that the applicant
declared under perjury that the applicant is a citizen of the United States, that
the statements made on the application are true and correct, that the applicant
had not knowingly and willfully made false statements or included false

documents in support of the application, and that the applicant read and
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_ understood the warning on the application. In response to the DS-82, the State
Department National Passport Center (“NPC”) issued a Passport Book on
July 25, 2016 in the name of G.E.

5. The DS-82 in the name of G.E. was reviewed by the National
Passport Center Fraud Program Managers (“NPC/FPM7”), during an audit of
a late issued Social Security Number. During the review, NPC/FPM
discovered a death record for G.E. According to a Commonwealth of
Massachusetts birth certificate, G.E. was born in Holyoke, Massachusetts in
1940. The birth certificate listed his parents as J.E. and C.E. According to a
Commonwealth of Massachusetts death certificate, G.E. was recorded as
deceased in 1945. The death certificate, again, listed his parents as J.E. and
C.E. G.E.’s social security number and date of birth were the same as were
listed in the July 12, 2016 passport application.

6. The NPC/FPM also conducted research on the name L.A.—the
emergency contact name listed in the G.E. DS-82. A review of a DSP-11
(Application for a United States Passport) in the name of L.A. revealed that
her parents were E. Bennett and I.M., she was born in Buffalo, New York,
formerly used the name L. Bennett, and presently resided in Clearwater,
Florida. Through an open sources search, NPC/FPM discovered an obituary

from 1982 that listed BENNETT as the brother of L.A. The NPC/FPM
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obtained a copy of BENNETT’s New York birth certificate, which revealed
his parents were E. Bennett and I.M., and that he was born in Buffalo, New
York in 1944.

7. A search of criminal indices revealed that BENNETT was
arrested on May 14, 1974, by the Wethersfield Police Department in
Wethersfield, Connecticut. A search of media publications by NPC/FPM
revealed a newspaper article from the Hartford Courant, dated January 4,
1975, that noted that BENNETT was convicted of multiple charges related to
robbery, rape, kidnapping, and sexual assault, sentenced to 9-18 years in
prison. The article also stated that BENNETT posted a bond pending appeal.
Additional searches by NPC/FPM revealed an article in The Bridgeport Post,
dated June 17, 1976, that stated that BENNETT, while on bond, did not
appear for his sentence after his conviction was affirmed by the Connecticut
State Supreme Court.

8. The Supreme Court of Connecticut issued an opinion stating that
BENNETT was convicted on January 3, 1975 of robbery, kidnapping, sexual
contact, rape and two counts of deviate sexual intercourse. The facts presented
at jury trial were that the victim was confronted by BENNETT who was
carrying a handgun and wearing a mask, while she was home alone on

February 14, 1974. He forced his way into the house, looking for the victim’s
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father. She was robbed of cash, had her hands tied behind her back, covered
her eyes with tape, dragged outside, disrobed and sexually assaulted by
BENNETT. He forced her into a car where she was again raped and sexually
abused by BENNETT and his companion for over an hour. Despite
BENNETT’s appeal, the Supreme Court of Connecticut affirmed his
convictions. BENNETT was required to begin his sentence on May 24, 1976,
however he never reported to serve his sentence. An active arrest warrant
exists in relation to those charges.

9. DSS obtained details from Wethersfield Police Department
records for BENNETT, including the booking photo, dated May 14, 1974,
depicted on the bottom left. DSS also conducted a review a DSP-82
(Application for Passport by Mail) submitted in the name of G.E., submitted
on or about January 25, 1982, depicted on the bottom middle. Finally, DSS
conducted a review of the DS-82 submitted in the name of G.E. on or about
July 12, 2016, depicted on the bottom right. As is evident below, the
individual depicted in BENNETT’s 1974 booking photo bears a resemblance

to the individuals depicted in G.E.’s 1982 DSP-82 and 2016 DS-82.
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10. On or about November 4, 2020, BENNETT was stopped by law
enforcement leaving his home in Clearwater, Florida which is the same
address as listed on the 2016 DS-82 in the name of G.E. Law enforcement
conducted a fingerprint comparison of BENNETT which revealed that the
booking fingerprints taken in 1974 were a match, confirming his true identity
as BENNETT. BENNETT was discovered with a driver’s license on his
person in the G.E. identity, bearing BENNETT’s photograph.

CONCLUSION

11. Based on the foregoing facts, there is probable cause to believe
that BENNETT committed false statement in an application for a U.S.
passport and aggravated identity theft, in violation of 18 U.S.C. §§ 1542 and

1028A.
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ON

David M. Heddleston, Supervisory Special Agent
U.S. Department of State, Bureau of Diplomatic
Security, Diplomatic Security Service

 

Affidavit submitted by email and attested to me as true and accurate by

telephone consistent with Fed.R.Crim. P. 41(d)(3) before me on November

4. 2020.
Lf -

HON. AN Sabre PORCELLI
UNITED puns MAGISTRATE JUDGE

 
